Case 3:17-cv-00072-NKM-JCH Document 442 Filed 03/11/19 Pagelof1 Pageid#: 4154

 

 

 

A0435 ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS FOR COURT USE ONLY =
(Rev. 04/18; WDVA Rev. 02/19)
TRANSCRIPT ORDER FORM Peete
Please Read Instructions on Page 2.
1. REQUESTOR’S NAME TELEPHONE NUMBER
INFORMATION:

 

James Hart Stern

 

323 842-0945

 

DATE OF REQUEST
3/11/2019

 

jamesstern@thejamesstern.com

EMAIL ADDRESS (Transcript will be emailed to this address.)

 

MAILING ADDRESS

 

CITY, STATE, ZIP CODE

 

 

 

 

12625 Frederick Street Ste I-5 Moreno Valley, Ca 92553
2. TRANSCRIPT NAME OF COURT REPORTER
REQUESTED: Carol Jacobs White
OR CHECK HERE IF HEARING WAS RECORDED BY FTR
CASE NUMBER CASE NAME JUDGE’S NAME
317 CD72 Sines, Et. Al. Vs. Kessler, Et al Hon. Joel C. Hoppe
DATE(S) OF TYPE OF PROCEEDING(S) LOCATION OF PROCEEDING
PROCEEDING(S)
3/1/2019

Telephonic hering on motions

 

 

District court Charlottesville Div.

 

REQUEST IS FOR: (Select one) FULL PROCEEDING

SPECIFIC PORTION(S) REQUESTED (if applicable):

OR [J SPECIFIC PORTION(S) (Must specify below)

 

3. SERVICE TURNAROUND CATEGORY REQUESTED:

(See Page 2 for descriptions of each service turnaround category.)

 

[] Ordinary (30-Day)

14-Day

[| Expedited (7-Day)

3-Day

Daily
Hourly
RealTime

 

 

4,

 

CERTIFICATION: By signing below, I certi

fy that I will pay all charges (deposit plus additional).

 

 

DATE
3/11/2019

 

 

 

 

If you have any questions, please contact the court reporter coordinator at (434) 847-5722

or by email to CRC@vawd.uscourts.gov.

Transcript Fee Rates can be found on our website under Standing Orders at:
http://www.vawd.uscourts.gov/media/1576 /transcripts2018-3.pdf

 

NOTE: Form must be flattened prior to electronically filing in CM/ECF so that all fillable fields can
no longer be modified.

 

 

 

Pec Ore) OM Was OD ay Be

 
